Case 1:12-md-02358-JDW                            Document 210-5 Filed 08/08/22                               Page 1 of 30 PageID #:
                                                             4029


                                          IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF DELAWARE


                                                                           Civ. No.: 12-MD-2358

     In Re GOOGLE, INC. COOKIE                                             Judge Eduardo C. Robreno
     PLACEMENT CONSUMER PRIVACY
     LITIGATION                                                            DECLARATION OF MICHELLE M. LA COUNT
                                                                           REGARDING NOTICE AND SETTLEMENT
                                                                           ADMINISTRATION


     DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION


 I, Michelle M. La Count, hereby declare and state as follows


        1. I am a Project Director employed by Epiq Class Action & Claims Solutions, Inc. (“Epiq”). I

             have more than 17 years of experience working in the legal field of which 14 years have been

             dedicated to settlement administrations.


        2. Epiq was established in 1968 as a client services and data processing company. Epiq has

             administered bankruptcies since 1985 and settlements since 1993.                                           Epiq has routinely

             developed and executed notice programs and administrations in a wide variety of mass action

             contexts including settlements of consumer, antitrust, products liability, and labor and

             employment class actions, settlements of mass tort litigation, Securities and Exchange

             Commission enforcement actions, Federal Trade Commission disgorgement actions,

             insurance disputes, bankruptcies, and other major litigation. Epiq has administered more than

             4,500 settlements, including some of the largest and most complex cases ever settled. Epiq’s

             class action case administration services include administering notice requirements,

             designing direct-mail notices, implementing notice fulfillment services, coordinating with the


 ______________________________
 1
     All capitalized terms not otherwise defined in this document shall have the same meanings ascribed to them in the Agreement.

                    DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
Case 1:12-md-02358-JDW         Document 210-5 Filed 08/08/22              Page 2 of 30 PageID #:
                                          4030



      United States Postal Service (“USPS”), developing and maintaining notice websites and

      dedicated telephone numbers with recorded information and/or live operators, processing

      exclusion requests, objections, claim forms and correspondence, maintaining class member

      databases, adjudicating claims, managing settlement funds, and calculating claim payments

      and distributions. As an experienced neutral third-party administrator working with settling

      parties, courts, and mass action participants, Epiq has handled hundreds of millions of notices,

      disseminated hundreds of millions of emails, handled millions of phone calls, processed tens

      of millions of claims, and distributed hundreds of billions in payments.


   3. Hilsoft Notifications (“Hilsoft”), a firm that specializes in designing, developing,

      analyzing, and implementing, large-scale legal notification plans. Hilsoft is a business unit

      of Epiq Class Action & Claims Solutions, Inc. (“Epiq”).


   4. The statements of fact in this declaration are based on my personal knowledge and

      information provided to me by my colleagues in the ordinary course of business, and if called

      on to do so, I could and would testify competently thereto.


   5. This declaration will advise the Parties and the Court for dissemination of the Settlement

      Notice Plan (“Notice”), final exclusion request totals, objections received, and

      correspondence information for the settlement in Google, Inc. Cookie Placement

      Consumer Privacy Litigation, Civ. No.: 12-MC-2358, District of Delaware.


   6. Epiq was appointed the Settlement Administrator pursuant to the Court’s Order granting

      approval of the parties proposed for re-issuing notice (the “Order”) entered February 24,

      2022. I submit this Declaration in order to advise the Parties and the Court regarding the




            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             2
Case 1:12-md-02358-JDW          Document 210-5 Filed 08/08/22             Page 3 of 30 PageID #:
                                           4031



      implementation of the notice plan and to report on requests for exclusion and objections

      postmarked by the July 7, 2022, deadline in accordance with the Order.


                                       NOTICE SUMMARY


   7. On February 24, 2022, the Court approved the proposed plan for re-issuing notice. Hilsoft

      designed the notice campaign in accordance the Order granting preliminarily approval of

      the class action settlement and the supplement thereto on October 15, 2021 (“Preliminary

      Approval Order”). In the Preliminary Approval Order, the Court certified the following

      Settlement Class:

            All persons in the United States of America who used the Apple Safari or
            Microsoft Internet Explorer web browsers and who visited a website from
            which Doubleclick.net (Google’s advertising serving service) cookies were
            placed by the means alleged in the Complaint.

   8. After the Order was entered, Epiq began to implement the notice campaign.              This

      declaration will detail the notice activities undertaken. This declaration will also discuss

      the administration activity to date.

                                        The Media Plan

   9. The Media Plan included various forms of notice, which utilized a national consumer print

      publication, internet banner advertising, social media targeting Apple Safari and Microsoft

      Internet Explorer web users in English and Spanish. Each notification had a link to the

      website where the long form notice was available along with pertinent dates, deadlines,

      and a summary of Class Members rights.


   10. The campaign ran for a period of (6) six weeks, beginning March 24, 2022, and continuing

      until May 4, 2022.



            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             3
Case 1:12-md-02358-JDW            Document 210-5 Filed 08/08/22             Page 4 of 30 PageID #:
                                             4032



                                  National Consumer Publication


      11. The Notice included a highly visible national print program. A1/3-page notice appeared

         once on April 15, 2022, weekly magazine People, a leading consumer publication in the

         United States. People magazine has circulation of 3.4 million and a readership of over 28

         million.


      12. The Notice in People magazine contained the material terms of the Settlement to potential

         Class Members, including the relief provided under the Settlement, the time period and

         location for the Fairness Hearing, the procedures and deadlines for excluding from the

         Settlement, or submitting objections to the Settlement, and an explanation that Class

         Members would be bound by any final judgement in this case if they did not opt-out of the

         Settlement. The Notice included the contact information to both Class Counsel, and the

         website address, GoogleCookiePlacementPrivacySettlement.com.


      13. The Publication Notice is included as Exhibit 1.


                                       Digital Banner Notice


      14. Internet advertising has become a standard component in legal notice programs. The

         internet has proven to be an efficient and cost-effective method to target and provide

         measurable reach of persons covered by a settlement.


      15. Banner Notices were booked on the Verizon (Yahoo) Audience1 ad networks. Banners ran

         on desktop, mobile and tablet devices and were targeted to adults 25+. Additionally, people




 1
     Verizon Audience Network is now known as Yahoo Audience Network.

               DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                                4
Case 1:12-md-02358-JDW         Document 210-5 Filed 08/08/22             Page 5 of 30 PageID #:
                                          4033



      who clicked on a Banner Notice and visited the website were retargeted with additional

      Banner Notices.


   16. The Notice also included advertising on social media, which consisted of newsfeed and

      right-hand column ads on Facebook. In addition, newsfeed ads were placed on Instagram

      and Reddit. Facebook is the leading social networking site in the United States and

      combined with Instagram covers over 200 million users in the United States. The social

      news discussion website Reddit is one of the top 10 most visited websites in the United

      States.


   17. The Banner Notice examples are included as Exhibit 2.


   18. The Banner Notice campaign, including display and social ads, ran from March 24, 2022,

      through May 4, 2022, nationwide. Clicking on the Banner Notices linked the reader to the

      settlement website, where they can easily file a claim for benefits online, request a paper

      claim form and obtain detailed information about the Settlement. Combined, a total of

      429,292,485 impressions ran.


   19. The Banner Notice campaign data is attached as Exhibit 3.


                                  CLASS COMMUNICATION


   20. Epiq received limited communication from Class Members with only two requests for

      copies of the long form notice, which were responded to by US Mail and included a copy

      of the requested long form notice.


   21. There were a total of four pieces of additional correspondence. In all instances Epiq



            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             5
Case 1:12-md-02358-JDW          Document 210-5 Filed 08/08/22             Page 6 of 30 PageID #:
                                           4034



      responded with a letter and a copy of the Notice as the questions posed were answered in

      the long form notice itself.


                                     POSTAL MAILING ADDRESS


   22. A post office box for correspondence about the Settlement were also established and

      maintained, to allow Settlement Class Members to contact the Claims Administrator by

      mail with any specific requests or questions.


                                      SETTLEMENT WEBSITE


   23. In accordance with the Order Epiq designed and made public a Settlement website,

      GoogleCookiePlacementPrivacySettlement.com and launched the site on March 23, 2022.

      The website included important information regarding the class action description,

      important dates, and contact information. Furthermore, important documents were on the

      site and downloadable. Those included the long form notice and exclusion request form,

      among others. The long form notice contained the material terms of the Settlement to

      potential Class Members, including relief provided under the Settlement, the date, time

      and place of the Fairness Hearing, the procedures and deadlines for opting out of the

      Settlement and submitting objections to the Settlement, as well as an explanation that Class

      Members would be bound by any final judgment in this case if they did not opt out of the

      Settlement. Class Members also had access to Court documents such as; Motion for

      Preliminary Approval, Preliminary Approval Order, Order Granting Proposed Plan, and

      the Settlement Agreement.




            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             6
Case 1:12-md-02358-JDW          Document 210-5 Filed 08/08/22             Page 7 of 30 PageID #:
                                           4035



   24. As of August 7, 2022, the Settlement website has received 92,659 page hits, resulting in

      75,325 unique sessions.


                                  REQUESTS FOR EXCLUSION


   25. Pursuant to Sections 8.1-8.3 of the Agreement, any Class Member may have sought to be

      excluded from the Settlement by submitting a request for exclusion to the Settlement

      Administrator.


   26. The reissued notice period did not negate the 50 timely and 11 late exclusion requests that

      were received during the initial notice period.


   27. Between March 24, 2022, the start of the reissued notice campaign, through August 3,

      2022, there were 40 unique reissued notice period requests for exclusion. Of those, 39 were

      postmarked on or before the exclusion request deadline set by the Court of July 7, 2022.


   28. One of the requests for exclusion received during the reissued notice period was not signed

      and thus fails to meet the criteria for a complete exclusion request, and;


   29. One request was postmarked after the exclusion request deadline leaving 38 complete,

      timely requests for exclusion received during the reissued notice period


   30. Attached as Exhibit 4 is a list of all timely, complete exclusion requests along with any

      incomplete or late requests, inclusive of both the original notice period and the reissued

      notice period.




            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             7
Case 1:12-md-02358-JDW          Document 210-5 Filed 08/08/22            Page 8 of 30 PageID #:
                                           4036



                                          OBJECTIONS


   31. Pursuant to Sections 9.1-9.4 of the Agreement, any Class Member who wanted to object to

      the Settlement had to file their reason to objecting with the Clerk of the Court, Counsel, and

      the Settlement Administrator on or before July 7, 2022.


   32. Epiq has received one timely submitted objection and no untimely objections.


   33. A copy of the objection is attached as Exhibit 5.


                             COST OF NOTICE ADMINISTRATION


   34. The combined, approximate cost to provide notice and handle the claims administration is

      currently estimated at $279,906.71. As of July 19, 2022, Epiq has invoiced $263,188.50

      for notice and claims administration. All costs are subject to the Service Contract under

      which Epiq will be retained as the Settlement Administrator, and the terms and conditions

      of that agreement.


   I declare under penalty of perjury of the laws of the United States that the foregoing is true

   and correct.


   Executed on August 8, 2022, at Green Bay, Wisconsin.


                                                            _____________________________
                                                            Michelle M. La Count




            DECLARATION OF MICHELLE M. LA COUNT REGARDING NOTICE ADMINISTRATION
                                             8
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 9 of 30 PageID #:
                                    4037




         EXHIBIT 1
   If You Used Apple Safari Or
ocument
  Internet210-5     Filed 08/0
           Explorer Browsers,
             4038
   You Could Be Affected By
    A Class Action Settlement.
         What Is This Lawsuit About?
 A class action settlement has been reached In
 Re: Google Inc. Cookie Placement Consumer
 Privacy Litigation, Case No. 12-MD-2358 (ER).
 Plaintiffs allege that, in violation of federal and
 state laws, Google placed third-party tracking
 cookies on browsers that visited websites
 containing Google ads by circumventing browser
 settings that were set to block such cookies.
 Google denies all allegations of wrongdoing.
 The Settlement Agreement provides for
 substantial injunctive relief for Settlement Class
 Members, including assurances from Google
 regarding its remediation efforts. Google has
 also agreed to pay $5.5 million to be distributed
 to various non-profit or educational institutions
 that agree to devote the funds to promote public
 awareness, research, and initiatives related to the
 security or privacy of Internet browsers.
 This Settlement Agreement was originally
 announced in 2016. You may have previously
 received a notice of this settlement at that time.
 At the direction of the Court, a second notice and
 opt-out period are now being provided to Class
 Members because the Court has approved a
 revised process for selecting the institutions that
 will receive settlement funds.
                Are You Affected?
 If you used a Safari or Internet Explorer browser
 in 2011-2012 with the browser cookie settings
 set, by default or by choice, either to accept only
 cookies from “visited” sites or to block cookies
 from “third parties and advertisers,” and you
 visited a non-Google website that displayed
 ads from doubleclick.net (Google’s advertising
 serving service), and a cookie from doubleclick.
 net was placed on your browser as a result of that
 visit, you may be a Class Member.
     What Are Your Rights And Options?
 Class Members may request exclusion by
 sending a completed “Request for Exclusion”
 form to the Administrator postmarked by
 July 7, 2022. If you submit a timely Request
 for Exclusion you will not be affected by the
 settlement. If you do not exclude yourself from
 the settlement, you will be bound by its terms
 and will release any and all claims.
 If you wish to comment or object in writing to
 any aspect of the proposed Settlement, you may
 do so by filing your comments or objections with
 the Court and sending them by U.S. Mail to the
 Parties no later than July 7, 2022.
        When Is The Fairness Hearing?
 The Court will schedule a final fairness hearing at
 a date to be determined after September 9, 2022,
 in the Courtroom of the Honorable Eduardo C.
 Robreno, Senior Judge of the U.S.D.C., sitting
 by designation in the District of Delaware, at
 J. Caleb Boggs Federal Building, 844 N. King
 Street, Wilmington, DE 19801. At this hearing,
 the Court will consider if the Settlement should
 be granted final approval. The Court previously
 approved Class Counsel’s request for attorneys’
 fees, expenses, and Class Representative
 incentive awards. Although you may attend the
 hearing or send your own attorney at your own
 expense, you are not required to do so.
     Where Can I Get More Information?
 This notice is a summary only. If you need further
 information, please view the Long Form Notice at
 GoogleCookiePlacementPrivacySettlement.com
 or please contact Class Counsel, Brian R.
 Strange, Strange LLP, 12100 Wilshire Blvd.,
 Ste. 420, Los Angeles, CA 90025; and/or James
 P. Frickleton, Bartimus Frickleton Robertson
 Rader, 4000 W. 114th Street, Suite 310,
 Leawood, KS 66211.
 PLEASE DO NOT CONTACT THE COURT.
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 11 of 30 PageID #:
                                    4039




          EXHIBIT 2
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 12 of 30 PageID #:
                                     4040

Yahoo display 300 x 600 px.
  Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 13 of 30 PageID #:
                                      4041

Yahoo display 728 x 90 px.
  Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 14 of 30 PageID #:
                                      4042

Yahoo display 300 x 250 px.
  Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 15 of 30 PageID #:
                                      4043

Yahoo display 970 x 250 px.
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 16 of 30 PageID #:
                                     4044

Yahoo display 300 x 600 px. SPANISH
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 17 of 30 PageID #:
                                     4045

Yahoo display 300 x 250 px. SPANISH
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 18 of 30 PageID #:
                                     4046

Yahoo display 728 x 90 px. SPANISH
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 19 of 30 PageID #:
                                     4047

Yahoo display 970 x 250 px. SPANISH
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 20 of 30 PageID #:
                                     4048

Facebook display




Facebook Newsfeed
 Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 21 of 30 PageID #:
                                     4049

Instagram




Reddit
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 22 of 30 PageID #:
                                    4050




          EXHIBIT 3
                   Case 1:12-md-02358-JDW Document 210-5 Filed 08/08/22                                                                                       Page 23 of 30 PageID #:
Google Cookie Placement Consumer Privacy Litigation  4051
Notice Plan Proposal
Proprietary and Confidential
October 22, 2021

Notice plan reaches 70% of the target audience, an average frequency of 2.8 times each.
                                                                                                           Detailed Media Plan
Print                                               Circulation               Insertions                   Distribution                               Frequency                         Ad Size           Cost

People                                               3,400,000                      1                         National                                 Weekly                        1/3 Page B&W

                   Total Estimated Print:           3,400,000                                                                                                                                           $67,395
Digital Base Plan (Display & Social)                 Duration               Impressions*                   Distribution                                 Target                          Ad Size           Cost
  - Notice on desktop, mobile and tablet devices.
  - Remarket to Adults who have visited settlement website.

                                                                                                                                                     Adults 25+                     728x90, 300x250,
Verizon (Yahoo!) Audience Network                     6 weeks                165,000,000                     National
                                                                                                                                           (English and Spanish language)          300x600 & 970x250

                                                                                                                                                                                      Newsfeed &
Facebook                                              6 weeks                 90,000,000                     National                                 Adults 25+
                                                                                                                                                                                   Right Hand Column

                                                                                                                                  Adults 25+ with interests in Internet Privacy,      Newsfeed &
Facebook                                              6 weeks                 70,000,000                     National
                                                                                                                                  Information Privacy and/or Browser Security      Right Hand Column

Instagram                                             6 weeks                 40,000,000                     National                                 Adults 25+                       Newsfeed


                                                                                                                                  Adults 25+ with interests in Internet Privacy,
Instagram                                             6 weeks                 30,000,000                     National                                                                  Newsfeed
                                                                                                                                  Information Privacy and/or Browser Security


                                                                                                                                       Adults 25+ who have interacted with the
Reddit                                                6 weeks                 21,000,000                     National                    subreddits r/privacy, r/privacytoolsio,    Reddit Feed Ads
                                                                                                                                        r/cybersecurity and/or r/privacyguides

                  Total Estimated Digital:                                   416,000,000                                                                                                                $188,631

                                                                                                                                                                                         Plan Total:^   $256,026
*Impression inventory at time of booking may vary slightly.
^Expert and professional time to be billed separately.
Estimated Program Duration (including lead time after Preliminary Approval): Approximately 8 weeks
Quote valid for 60 days from issue date. All advertising is subject to publisher’s approval and availability at the time of the buy.

                                                                                                              Hilsoft Notifications
                                                                                                             10300 SW Allen Blvd.
                                                                                                             Beaverton, OR 97005
                                                                                                                 503.350.5800
                                                                                                               www.hilsoft.com
                                       raw reach      raw GRP
comScore target - A18+                 66.05%
                                      Case            260.00
                                            1:12-md-02358-JDW               Document 210-5 Filed 08/08/22               Page 24 ofSecondary
                                                                                                                                   30 PageIDR/F Test #:   raw reach A25+   raw GRP
Did not weight; class is inherently                                    Print reach:    405210.60%    A25+                            Desktop Comscore        44.58%        111.41
online                                                                 Print GRP:                    10.6                            Mobile Comscore         39.81%        77.92
             comScore August 2021                                     MRI Simmons DB 2021                                            Digital Reach           66.64%

                                                                       Total Reach:                69.65%                            Total Reach:            70.18%
                                                                       Average Frequency:            3.9                             Average Frequency:        2.8

            Gross Cost                 Net Cost    Actual Ad Size           Run Date                Page          Have Tearsheet?

             $68,743.53               $58,432.00                    4/25 issue; on sale 4/15          30                Yes




            Gross Cost                 Net Cost        CPM                  Run Dates          Have Screenshot?   Impressions Run        Total Clicks




             $80,558.82               $68,475.00      $0.4150            3/24 - 5/4, 2022            Yes            169,838,710             42,231


             $36,264.71               $30,825.00      $0.3425            3/24 - 5/4, 2022            Yes             91,243,599             12,372


             $28,199.38               $23,969.47      $0.3424            3/24 - 5/4, 2022            Yes             72,651,129              9,831


             $17,623.53               $14,980.00      $0.3745            3/24 - 5/4, 2022            Yes             43,055,878              5,855


             $13,208.56               $11,227.27      $0.3742            3/24 - 5/4, 2022            Yes             31,046,716              4,239




             $12,776.47               $10,860.00      $0.517             3/24 - 5/4, 2022            Yes             21,456,453              4,925



                                                                                                                    429,292,485             79,453
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 25 of 30 PageID #:
                                    4053




          EXHIBIT 4
Case 1:12-md-02358-JDW Document 210-5 Filed 08/08/22 Page 26 of 30 PageID #:
                  Google Cookie Placement Consumer Privacy Litigation
                                        4054

                             2016                                            2022
                                                Exclusion Request
        Tracking                                         Tracking   RE-NOTICE
                     CLASS MEMBER NAME        STATUS                                           STATUS
        Number                                           Number     CLASS MEMBER NAME
        59E7A68549   CHARLES E RICHARDSON     Incomplete      1     SHAWN HOLMES                 Incomplete
        E2D29C8163   UNITA FAY MITCHELL       Incomplete      2     RAUL MENDOZA                  Complete
        B4E535D02C   AKIKO DUNN                Complete       3     ERNEST ROBINSON               Complete
        C395C9BF85   ALAN LANSING              Complete       4     JOHANNA R SILVA               Complete
        609F01BCE3   ALEKSANDR Y SHINKAREV     Complete       5     LORENE BANKS                  Complete
        5004E9094B   ALESIA JACKSON            Complete       6     LEROY EARLE                   Complete
        D8576D76A5   ANDREY SHLOMOVICH         Complete       7     OREO BANKS                    Complete
        AXXXXXXXX   ANITRA MURPHY             Complete       8     MICHELE RUSSO                 Complete
        1113BDD2E6   BRADDOCK BUCK DEANGELO    Complete       9     LEROY D EARLE III             Complete
        0A5BDF6236   BRYAN MURPHY              Complete      10     DENISE INGRAM                 Complete
        F6CEEFE734   CAMERON CORNELISON        Complete      11     LORENE BANKS                  Complete
        2C3D6535C6   CHARLES JACKLIN           Complete      12     LINDA K LAM                   Complete
        7457060D41   CHARLES RICHARDSON        Complete      13     LISA K LAM                    Complete
        2D675464D7   CHRISTOPHER GALBRAITH     Complete      14     CAROLYN BARBEE                Complete
        7D1F2D7B47   DEANGELO BRADDOCK         Complete      15     CLAUDIA ANDERSEN              Complete
        F16BF035C1   DOREEN M CAOUETTE         Complete      16     MICHEAL T SHEPHERD            Complete
        04AED75C43   DWAYNE HAWKINS-LODGE      Complete      17     KANEICE L STACKHOUSE          Complete
        CAD886200A   EMANUEL HAJEK             Complete      18     CELESTE Y SCHADE              Complete
        EBCCE4518F   GARY RICHARDSON           Complete      19     JAMES E HOUSTON               Complete
        C111B7C04C   GEROD GREEN               Complete      20     JAMES L HATCHER               Complete
        DC5A7CED01   GLENDA JOHNSON            Complete      21     JENNIFER M LONG               Complete
        485D8F69EA   GLENNA O'DELL             Complete      22     KALYNA F JACKSON              Complete
        97A52D8C4A   JAMES COBB                Complete      23     ANITA M JORDAN                Complete
        37D5FC861D   JAMES L NELSON JR         Complete      24     MICHEAL T GOLDSTEIN           Complete
        9E12FA2824   JAMES WALTON              Complete      26     BRENDA GRIMES                 Complete
        1B3A58CE36   JENNIFER SIMONIAN         Complete      27     KEESHIA WHITESIDE JAYNES      Complete
        18C456CD80   JESSICA BROWN             Complete      28     MEGAN J MOORE                 Complete
        8A3F6127C0   JESSICA BROWN             Complete      29     ANTHONY H BALL                Complete
        C5179FA632   JESSICA BROWN             Complete      31     MICHELLE G SETTLES            Complete
        E623AA70EB   KAREN FENNESSEY           Complete      32     JIM SHANNON                   Complete
        264767730C   KIN WAH KUNG              Complete      33     TYEISHA HARRIS                Complete
        344DC93545   MARIA ZAPOLSKI            Complete      34     ANTONIO FORTSON               Complete
        4E38C388EC   MARINA SHLOMOVICH         Complete      35     DEBBIE BELCHER                Complete
        AD69E16E0C   MARY REPINE               Complete      36     KRYSTAL PATE                  Complete
        4E248D3080   MICHAEL BROWN             Complete      37     ANTWON AUSTIN                 Complete
        D5F1F7F5C4   MICHAEL BROWN             Complete      39     RACHEL K. NARR                Complete
        A89FE75E77   MICHELLE SHLOMOVICH       Complete      40     ADAM E. HIPP                  Complete
        E86A9EB8A0   MOHAMAD HAKKANI           Complete      41     KATHERINE A. WENZEL           Complete
        22A8716654   PETRA HAYEK               Complete      42     MICHAEL A. PALUMBO            Complete
        6F6B6BCB5A   PHYLLIS BYRD              Complete      38     DIANA L. ANGUS                  Late
        603EFF417A   RACHELLE REESE            Complete
        E52A4866E2   RICHARD HAYEK             Complete
        CF4B00E930   RONY YARDEN               Complete
        91F80D4144   SHARD MASON               Complete
        2F35BB7580   SHERONDA WILLIAMS         Complete
        2C50A485E7   SMITH TRATICA             Complete
        BC9C044FF3   SONJI LANGFORD            Complete
        6BE7BD15DD   STEPHANIE WARD            Complete
        D2791B6886   TODD DORDAN               Complete
        8E8E55C18E   TRATICA SMITH             Complete
        7FC1C49FA3   SONIA MARTINEZ              Late
        7CFF2C7A31   ROCCO A. CONFORTI JR        Late
        40AE9DB0CC   ROCCO A. CONFORTI JR        Late
        7CFF2C7A31   ROCCO A. CONFORTI JR        Late
        40AE9DB0CC   ROCCO A. CONFORTI JR        Late
        344F34B05A   SONIA MARTINEZ              Late
        342451F4E6   DANIEL FRANCO               Late
        7FC1C49FA3   SONIA MARTINEZ              Late
        342451F4E6   DANIEL FRANCO               Late
        2793CE6AFD   BIANCA M JOYAL              Late
        34904D73FB   CODY THOMSON-ESQUER         Late
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 27 of 30 PageID #:
                                    4055




          EXHIBIT 5
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 28 of 30 PageID #:
                                    4056
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 29 of 30 PageID #:
                                    4057
Case 1:12-md-02358-JDW   Document 210-5 Filed 08/08/22   Page 30 of 30 PageID #:
                                    4058
